Case 1:17-cV-01062-.]TN-ESC ECF No. 51 filed 06/21/18 Page|D.ZlO Page 1 of 2

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

BEVERLY ZIMMERMAN, SAMUEL AND
SHANNON COLBY, RAYMOND AND
RO SALIE ESPINOZA, KEVIN RIGGLE,
DEB ORA HILTON and ROCHE LLE
RADLINSKI, On Beha]f of Themse]ves and

Case No. 1:1?-cv-01062

P]aintiffs,
V.

THE 3M COMPANY (f)'k!a MINNESOTA
MINING AND MANUFACTURING Co.) a
De]aware Corporation, WOLVERINE
WORLD WIDE, INC., a De]aware
Corporation, WASTE MANAGEMENT, INC.,
a De]aware Corporation; and WASTE
MANAGEMENT OF MICHIGAN, INC., a
Michigan Corporation,

Defendants.

 

DEFENDANT WOLVERINE’S MOTION ON .]URISDICTION
UNDER CAFA, 28 U.S.C. § 1332(d)

 

 

Case 1:17-cV-01062-.]TN-ESC ECF No. 51 filed 06/21/18 Page|D.211 Page 2 of 2

Defendant Wolverine World Wide, Inc., moves under 28 U.S.C. § 1332(d)(4)(A) for the

Court to decline jurisdiction and dismiss this case. This motion is supported by the accompanying

brief

Wolverine has ascertained that this motion will be opposed.

Dated: May 10, 2018

11139385-1

/S/ fames Moskaf

James Moskal (P41885)

]anet Ramsey (P63285)

Madelaine C. Lane (P’J"1294)

R. Michael Azzi (P’J"4508)

WARNER NORCROSS & IUDD LLP
111 Lyon, NW, Ste. 900

Grand Rapids, MI 49503

(616) 1152-2000

jmoskal@wnj.com
]`ramsey@Wn]`.com
mlane@wnj.com

mazzi@Wn]`.com
Arromeysfor Defena'am Wofver£ne Worfa' W£de,

Inc.

